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                     Exhibit 17
4/22/25, 11:00 AM                                      Case
                                    What are They Hiding?      1:25-cv-01111-EGS
                                                          DeLauro,                             Document
                                                                   Murray Demand OMB Promptly Restore            13-20
                                                                                                      Access to Website        Filed
                                                                                                                        Detailing Federal04/22/25          Page
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            Murray Demand OMB Promptly                                                                                                                                             Press Releases

                                                                                                                                                                                   Statements
            Restore Access to Website Detailing                                                                                                                                    Appropriators in Print
            Federal Spending Allocations, As                                                                                                                                       Fact Sheets

            Federal Law Requires                                                                                                                                                   Videos


            March 24, 2025             Press Release
            Washington, D.C. — Today, Congresswoman Rosa DeLauro (D-CT-03), Ranking Member of the House Appropriations
            Committee, and Senator Patty Murray (D-WA), Senate Appropriations Committee Vice Chair, issued the following joint statement
            after the Office of Management and Budget (OMB) moved to unlawfully hide how the agency directs agencies to spend taxpayer
            dollars. OMB hid this information by destroying a website that publicly displayed all of these decisions, known as apportionments.

            “Federal law is unequivocal: OMB must publish the agency’s legally-binding budget decisions. Congress enacted these
            requirements over a Democratic President’s objections on a bipartisan basis because our constituents, and all American
            taxpayers, deserve transparency and accountability for how their money is being spent. Taking down this website is not
            just illegal it is a brazen move to hide this administration’s spending from the American people and from Congress. We
            call on OMB to immediately restore access to the website and resume compliance with this most basic, bipartisan
            transparency requirement.”

            Apportionments are legally binding budget decisions issued by OMB under title 31 of the U.S. Code. These documents are final,
            decisional, and legally binding on agencies, and officials responsible for violating an apportionment may be subject to
            administrative discipline, including suspension without pay and termination, and the knowing and willful violation of an
            apportionment carries with it criminal penalties under the Antideficiency Act.

            The 2022 bipartisan appropriations bills instated a requirement for OMB to publicly post in an accessible format all approved
            apportionments within two business days, along with any footnotes, and an explanation for those footnotes. The following year,
            Congress made those requirements permanent. Those bipartisan requirements have been carried out for the last three years
            without incident—allowing lawmakers and the public to track OMB’s legal-binding budget decisions.

            As of March 24, however, OMB’s apportionments database was taken down with no notice or explanation, and reporting indicates
            the website was destroyed in defiance of the bipartisan requirements enshrined in federal law that OMB maintain the site.

            Importantly, there have never been national security concerns associated with this statutory requirement, and the law requires
            OMB to make any classified documentation referenced in any apportionment available at the request of the Chair or Ranking
            Member of any appropriate congressional committee. Classified programs are frequently addressed in public statutory language,
            including in the recently passed Republican full year continuing resolution, with classified annexes available on a need-to-know
            basis.

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            Subcommittees
            119th Congress




                                                                   Appropriations Committee Democrats
                                                                                               1036 Longworth House Office Building

https://democrats-appropriations.house.gov/news/press-releases/what-are-they-hiding-delauro-murray-demand-omb-promptly-restore-access-website                                                                               1/2
